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                   1   COOLEY LLP
                       BRETT H. DE JARNETTE (292919)
                   2   (bdejarnette@cooley.com)
                       ALEXANDER K. BREHNAN (317776)
                   3   (abrehnan@cooley.com)
                       TAYLOR BOYLE (353178)
                   4   (TBoyle@cooley.com)
                       3175 Hanover Street
                   5   Palo Alto, CA 94304-1130
                       Telephone: +1 650 843 5000
                   6   Facsimile: +1 650 849 7400
                   7   JOHN H. HEMANN (165823)
                       (jhemann@cooley.com) th
                   8   3 Embarcadero Center, 20 Floor
                       San Francisco, CA 94111-4004
                   9   Telephone: +1 415 693 2000
                       Facsimile: +1 415 693 2222
               10
                       Ashley Gorski (pro hac vice)
               11      (agorski@aclu.org)
                       American Civil Liberties Union Foundation
               12      125 Broad Street, Floor 18
                       New York, NY 10004
               13      Telephone: +1 212 549 2500
               14
                       Counsel for Plaintiffs
               15      (See additional counsel listed below)
               16
                                            UNITED STATES DISTRICT COURT
               17
                                          CENTRAL DISTRICT OF CALIFORNIA
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               19
                       ABDIRAHMAN ADEN KARIYE,                     Case No. 2:22-cv-01916-FWS-GJS
               20      MOHAMAD MOUSLLI, and
                       HAMEEM SHAH,                                PLAINTIFFS’ NOTICE OF MOTION
               21                                                  AND MOTION TO COMPEL
                                       Plaintiffs,                 PRODUCTION OF DOCUMENTS
               22
                             v.                                    Date: June 16, 2025
               23                                                  Time: 3:00 PM
                       KRISTI NOEM, Secretary of the U.S.          Dept: Courtroom 640
               24      Department of Homeland Security, in         Judge: Hon. Gail J. Standish
                       her official capacity, et al.,              Trial Date: January 27, 2026
               25                                                  Date Action Filed: March 24, 2022
                                       Defendants.
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               28
COOLEY LLP
ATTORNEYS AT LAW
   PALO ALTO
                                                                                 PLS’ NTC OF MOTION TO COMPEL
                                                                                        2:22-CV-01916-FWS-GJS
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                   1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                   2         PLEASE TAKE NOTICE that on June 16, 2025, at 3:00p.m., or as soon
                   3   thereafter as this motion may be heard in the above-titled Court, Plaintiffs Imam
                   4   Abdirahman Aden Kariye, Mohamad Mouslli, and Hameem Shah (“Plaintiffs”) will
                   5   and hereby do move this Court, pursuant to Fed. R. Civ. P. 37(a), for an order
                   6   compelling Defendants Kristi Noem, Secretary of the U.S. Department of Homeland
                   7   Security (“DHS”), Pete R. Flores, Acting Commissioner of U.S. Customs and Border
                   8   Protection (“CBP”), Caleb Vitello, Acting Director of U.S. Immigration and Customs
                   9   Enforcement (“ICE”), and Robert Hammer, Acting Executive Associate Director,
               10      Homeland Security Investigations (“HSI”) (“Defendants”) to produce documents and
               11      information in response to Plaintiffs’ Requests for Production 11, 14, and 16–19,
               12      Plaintiff Kariye’s Interrogatory No. 7, and from work devices of Defendants’
               13      employees that have been unreasonably withheld (the “Motion”).
               14            This Notice of Motion and Motion is based on the accompanying
               15      Memorandum of Points and Authorities, the concurrently filed declarations of
               16      Alexander K. Brehnan and Steven Valentine and the exhibits attached thereto, all
               17      pleadings and papers on file in this matter, and upon such matters as may be presented
               18      to the Court at the time of hearing on this motion or otherwise.
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ATTORNEYS AT LAW
                                                                                   PLS’ NTC OF MOTION TO COMPEL
   PALO ALTO                                                     2                        2:22-CV-01916-FWS-GJS
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                   1   Dated:      May 15, 2025                 COOLEY LLP
                                                                JOHN H. HEMANN (165823)
                   2                                            BRETT H. DE JARNETTE (292919)
                                                                ALEXANDER K. BREHNAN (317776)
                   3                                            TAYLOR BOYLE (353178)
                   4
                   5                                            By: /s/ Alexander K. Brehnan
                                                                   Alexander K. Brehnan
                   6
                                                                Ashley Gorski (pro hac vice)
                   7                                            (agorski@aclu.org)
                                                                ACLU Foundation
                   8                                            125 Broad Street, Floor 18
                                                                New York, NY 10004
                   9                                            Telephone: +1 212 549 2500
               10                                               Mohammad Tajsar (SBN 280152)
                                                                (mtajsar@aclusocal.org)
               11                                               ACLU Foundation of Southern
                                                                California
               12                                               1313 West 8th Street
                                                                Los Angeles, CA 90017
               13                                               Telephone: +1 213 977 9500
               14                                               Daniel Mach (pro hac vice)
                                                                (dmach@aclu.org)
               15                                               Heather L. Weaver (SBN 226853)
                                                                (hweaver@aclu.org)
               16                                               ACLU Foundation
                                                                915 15th St., NW Ste. 600
               17                                               Washington, DC 20005
                                                                Telephone: +1 202 675 2330
               18
                                                                Teresa Nelson (pro hac vice)
               19                                               tnelson@aclu-mn.org
                                                                ACLU of Minnesota
               20                                               P.O. Box 14720
                                                                Minneapolis, MN 55415
               21                                               Telephone: +1 651 645 4097
               22                                               Attorneys for Plaintiffs
                                                                ABDIRAHMAN ADEN KARIYE,
               23                                               MOHAMAD MOUSLLI, and
                                                                HAMEEM SHAH
               24
               25      318135052


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COOLEY LLP
ATTORNEYS AT LAW
                                                                               PLS’ NTC OF MOTION TO COMPEL
   PALO ALTO                                                3                         2:22-CV-01916-FWS-GJS
